Case 1:20-cv-05861-EK-JRC Document 31 Filed 07/05/22
                                                  XT"' Page 1 of 7 PageID #: 75
                                                         , FILED
                                                       U.S.DISTTOC^court M-N.Y.
   U:\nED STAiTES DISTRICT COUt;T
                                                       ★ JUL 0 5 2022 ^
   EASTERN DKTRICT OF KEiv YORKX
                                                        BROOKLYN OFri^E
   SAUL SAEIBO,                                   NOTICE OF MOTION TO AHEIkD
               \    Plaintiff-Pro Se             COMPLAINT     TO ADD
                                                 DEFEisDANT PURSUANT TO U.S.
           -agains t-                            FEDERAL RULES OF CIVIL
                                                 PROCEDURE RULE 15(a)(2)
   City of i;<2w York,et al.,
                                                 Case No. 20-CV-05861
                    Defendants.
                                       X
   To: Honorable Eric R. Komitee, United States District Judge
                           STATEMENT OF FACTS
          On or,about June 04th,2019, Plaintiff Sabino was been
   dischargeg from a [NYC Ii'ealth &. Hospital Corp.] Brooklyn ilew y'o'. 1;
   Hospital,..when tn. ; w^.ical was about to discharged Plaintiff, NVC
   NYPD Police officers said to Plaintiff Sabino, He was under arreit
   while stiil in the hospital bed, when asked why? Plaintiff was
   inform by the NYC NYPD Police Officers that he had an "active perd
   ing Parole Warrant".                                                           ~
          Plain,^iff politely said to the NYC-NYPD Police Officers that
   their Parole Warrant information was "invalid, an error, and totfl
   ly WRONG'.' Since Plaintiff Sabino's "MAXIMUM EXPERATION DATE" whs ~
   on "Novemlper 21th,2018" the prior year. Plaintiff Sabino then I'G/VT'
   NYC NYPD
   KTVrMVDH
            Police Officers 1.4
                            his «
                                  "New York
                                       V  1.
                                             State Department
                                                   rv   ..  ..
                                                               of ^
                                                                  Corr".
                                                                      -•
                                                                         &
                                                                         0--


   Community.Supervision"INMATE IDENTIFICATION NUMBER 9i|08rA-1148 anc
   Plaintiff said to the NYC-NYPD Police Officers to please "CHECK" hj.
   inmate DIN Number in the NYS DOdCS website for "INMATU LOC'JUP" "ti" e
   NYC NYPD POLICE OFFICERS "Decline and Refused" to simply cneck the
   online NYS INMATE LOOKUP to verify Plaintiff's Sabino s testimony
   and story,
          Instead the NYC NYPD Police Officers took Plaintiff Sabino
   to NYC Department of Correction AMKC Facility at Rykers Island
   on June 04th,2019, right from the hospital. Plaintiff Sabino was
   assigned an      INMATE Book & Case Number# 141-190-3106"By AMKC N^C
   Dept., Of jCorrection and placed in the " Maximum Classification
   sing iTnit'Cell Only Quad 6 Upper"called the "The DARK            SIDE  wefe
                                                                     incarcerated

                                                                   RECEIVED AS-
   TO WHY HE WAS HELD AND DEPRIVED OF LIFE, AND LIBERTY "WITHOUT^any
   DUE PROCESS OF LAW", uhti^Ll finally released without any t3^pe of
   reasons on AUGUST 14th,2019, See Attached,Exhibit A,"History oJ^-
   [Plaintiff * sJIncarceration In the Custody of New York City Dept!,-
   of Correction,page 2 of 2, under Book & Case #141-190-3106 froiA-
   June04,2019 to Augustl4,2019 AMKC Total of 72days". U.S. Consti
   tutional 14th Amendment & NYS Constitutional Article 1 Sec.6 "Wi11
   out"    the RIGHT to"Due Process of Law"and negligences by NYC. ""
   Plaintiff humbly request this Court grants him           relief" for this-
   GRAVE wrong done to him, by the City of New York the Defendants

                                  Page 1 of 3.

               )r
Case 1:20-cv-05861-EK-JRC Document 31 Filed 07/05/22 Page 2 of 7 PageID #: 76


             s
   Sabino v. City of New York, et al., Case No. 20-cv-05861
   Declaratioih In Support of Motion To Amend Complaint To Add Defdnd
   ant Pursuant To Fed R. Civ, Proc, Rule 15(a)(2) (EK)

                       DECLARATION OF SAUL SABINO
             '1 name .is Saul Sabino Plaintiff Pro Se, and I reside a
            M]^
   18-18 Haz^Jn Street,East Elmhurst,NY 11370. I dec-larc .nder penal u
     of perju|:y that all of the following is true and correct of my
     personal^knowledge, and that if called as a witness in this
     matter, 4 could and would competently testify to each of the
    facts set forth herein and below;
           1.'I am the Plaintiff Pro Se in this matter. I am therefore
    fully familiar with the facts and circumstances of this action.
           2. This declaration is submitted in support of notice of
     Motion To Amend Complaint and To Add Defendant, to which this
     declaratj^on is attached.
           3. The original Complaint in this matter demanded judgment
     against Defendant for the amount of $145,000. in damages or humM
     whatever'this Court deems fit , fair, and just.
           4..!: The existence of Defendant's officially adopted policy
    from New York Correction Law Section 500-c was part of the sole
    cause, ijtijury, and deprivation to Plaintiff's U.S. Constitutional
     right tojdue process of law and other civil rights violated too>
     Since.Defendant negligently failed to have adequate supervision
     of Plain,tiffs wrongful-illegally detainment, and failed to rele^
    Plaintiff in a timely fashion upon knowledge of plaintiff's wroi
    ful-illegal incarceration. The Statute does "NOT absolve"Defendj
    (City of. New York) from liability for their - negligence and wronj
    ul acts."
           5.Defendant was negligent and misfeasance in the performai
    of their duties. On the basis that Defendant knew of Plaintiff'j
    wrongful-illegal incarceration within hours and days from the f:
    St day of June04th,2019 illegal Commitment to custody. Since th<
    Plaintiff informed Defendant s NYC Dept. Of Correction AMKC a^d
     NYS Dept Of Corr & Community Supervision via" NYC Jail RECORDJED-
    INMATE PHONE SERVICES"(which can be Subpoena Per Rule 45) and t
    U.S.P.S.;mail. Yet To No avail from Defendant bothCity of New Y(
    and NYS Dept. Of Corr & Community Supervision.
           6.r-The Court can "see attached on EXHIBIT A, "History of 1
    Plaintiff's Incarceration in the Custody of New York City Deplt.
    Corr. that" Plaintiff had NO Criminal Charges Detaining him dur:
    the 72 DAYS HELD FROM JUNE 04th,2019 to August,14,2019" and to
    further Proof and VERIFY this CLAIM . Plaintiff humbly request i
    COURT "ORDERS" Defendant(City Of New York) to produced l.Jail; T:
    records and Certificates Pursuant to NY Correction Law. Sec.600-f
    and 2. Records of Commitments and Discharges pursuant to New Yoi
    Correction Law Sec.500-f which are kept"PERMANENTLY"by law.

                             2   of 3.




             i
Case 1:20-cv-05861-EK-JRC Document 31 Filed 07/05/22 Page 3 of 7 PageID #: 77



     Sabino v. City of New York,et al., Case No 20-cv-nSftAi
                            Of Proc.
     Defendant PerJFed R. Civ. MotionRule
                                      To Amend Complaint To Add
                                          15(a)(2)

         7. ^his Motion to Amend will not cause undue delay a sin
    discovery has not commencei in this matter. The changes in tt e  JO
                                                                           ce

                                                                                m
    plaintr ;Could NOT possibly prejudice the Defendant in its at»il Lt.y
    to defend on the merits because the claim s of amended Compla
    arise ouf of the samr transactions and facts and circumtamnce in
                                                                  S
                                                                    :
                                                                     iS
    set s fotth in the original complaint^




                                                          abino

                                                   18-lb Hazen Street
                                                   E.Elmhust, NY 11370
    Dated     June 28,2022
    CC:     City Of New York Counsel""

                                        ■J
                                        K
          loo ckjrcl, jf. gft, J -^og
          l^e^ycr/Q I fjy /tJoo?

                             Page 3 of 3.



                                                  Ah.




               • I
Case 1:20-cv-05861-EK-JRC Document 31 Filed 07/05/22 Page 4 of 7 PageID #: 78




               EXHIBIT A
Case 1:20-cv-05861-EK-JRC Document 31 Filed 07/05/22 Page 5 of 7 PageID #: 79



                                                                     NEWYORK CITY DEPARTMENT OF CORRECl ICN
                                                                                             Cynthia Brann, Commiss one

                                                                                                             Lautal S. I Icllo
                                                                                               SenloE Counsel|FO^ O B
                                                                                                      75-20 Astona Boul vat i
                                                                                             East Elmhurst, New Y(irk 1 1370
                                                                                                                 7181546. 39:»
                                                                                                             Fax 7181278-SCO)
                  (a


                                                                                  Apr 8, 2021

    Saul Sabino B&C# 3492002006
    GRVC
    09- 09 Hazen Street
    East Elhurst, NY 11378




    Dear Mr. Sabino,

    This letter is to acknowledge and respond to the inquiry you sent to the New York City
    Department of Correction.


    Please see attached history of your incarceration in the custody of New York City Department of
    Correction.
    Your latest/ current incarceration started Aug 11, 2020.




                                                                                Very truly yours,



                                                                               Jail Time Coordinator
                                                                               Legal Division




                       Visit NEW YORK'S BOLDEST on the Web at: www.ci.nyc.ny.us/html/doc/home.htm!
 Case 1:20-cv-05861-EK-JRC Document 31 Filed 07/05/22 Page 6 of 7 PageID #: 80




                             New History NYSID Number Search (QNH#)

                                 Discharged After April 25, 1990

                             Din " Days Incarcerated Total Per Record



Bran         Nysid #     BookScase# Last Name   First Name Admit Date —Din    Disc Date

             01052307M 1410517369   SABINO      SAUL               ^No Piablic Record
             01052307M 1410616680   SABINO      SAUL      20-SSP-06     253   30-MAY-p'r
             01052307M 1410522070   SABINO      SAUL      24-DEC-05     46    07-FEB-66
             01052307M 1411507840   SABINO      SAUL      ll-AUP-15     74    23-OCT-i5 3Fh
             01052307M 1411803859   SABINO      SAUL      23-1JUN-I8    33    25-JDL-1b \WK
       jfe   01052307M 1411903106   SABINO      SAUL      O4-1JDN-I9    72    14-AUG-i9 \WK 1'^
             01052307M 4411904484   SABINO      SAUL      22~AUG-19     100   29-NOV-i9 IIP
             01052307M 8950701690   SABINO      SAUL      23-OCT-07     133   03-MAR-09    VMK
                                     -v-
                                      u
                                  UJ-'^
                                      C
                                    - d     2
                                  0 ^       IT
                                   . "B     >-.
                                            O
                                      Jj\   o          (n
                                            s-          m     1/-
                                                       {M
                                      w0
                                                       0
                                                        lU
                                                        vf
                                                        1
                                                       •rt
                                                        Q
                                                        CM
                \S    IT"
                      cr
                QJ    fNO
                C     O
                f^'
               -~C
                u
                V
                      3*
                ::>
                      r\'
Case 1:20-cv-05861-EK-JRC Document 31 Filed 07/05/22 Page 7 of 7 PageID #: 81
